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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                      Case No. 3:18-cv-02042-D

  FRED DEMBSKI, individually, and on behalf
  of all others similarly situated,

                     Plaintiff,

  v.

  THE DALLAS MORNING NEWS, INC.,
  a Texas company,

                     Defendant.


                            CERTIFICATE OF INTERESTED PARTIES

         Plaintiff Fred Dembski discloses the following list of all persons, associations of

persons, firms, partnerships, corporations, guarantors, insurers, affiliates, parent or subsidiary

corporations, or other legal entities that are financially interested in the outcome of this case:

                1.        Fred Dembski;

                2.        The members of Plaintiff’s putative class;

                3.        The Dallas Morning News, Inc.;

                4.        TurnKey Solutions, Inc.;

                5.        The A. H. Belo Corporation; and

                6.        The parties counsel.

                                                 /s/ Stefan Coleman

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 11, 2018, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF, which is being served this day on all counsel

of record via transmission of Notice of Electronic Filing generated by CM/ECF.



                                                   /s/ Stefan Coleman
